  Case 17-01113-jw        Doc 49-1 Filed 07/06/20 Entered 07/06/20 15:33:35                  Desc
                               Proposed Order Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA



Case Number: 17-01113-jw

                     ORDER GRANTING MOTION FOR MORATORIUM


The relief set forth on the following pages, for a total of 2 pages including this page, is hereby
ORDERED.
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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

IN RE:                                         ) CASE NO.: 17-01113-jw
                                               )
Desiree Diamond Hosey aka Desiree D.           ) CHAPTER 13
Hosey fka Desiree Williams fdba Desire         )
Enterprise,                                    )
                                               )
                                               )               ORDER
                          Debtor(s)            )
                                               )
Address: PO Box 61304                          )
         North Charleston, SC 29419            )
                                               )
Last four digits on Social-Security or         )
Individual Tax-Payer-Identification (ITIJ)     )
No(s)., (if any): 8472                         )
                                               )


The parties have agreed that a moratorium will be granted for the four (4) months. The debtor will
resume the regular monthly payment of $1,375.00 at the conclusion of the moratorium. Debtor
will be responsible for making sure that the full amount is paid.

The parties agree that if the debtor fails to make any future payments to the Trustee in a timely
manner, the case may be dismissed upon written request of the Trustee, without further notice or
hearing.

This order shall not be interpreted to require the Trustee to issue a refund of any payments to the
debtor. A refund request will not be considered by the Trustee unless a separate, specific request
is made in writing within ten (10) days of the entry of this order, the refund request will not make
the debtor’s case delinquent, and the Trustee agrees that funds are available in the case to be
refunded. The Trustee will only issue refunds on regular disbursements dates and will not refund
funds that have already been disbursed. Based on the agreement of the parties,

IT IS HEREBY ORDERED that the motion for moratorium is granted for the four (4) months.
The missed payments will not be forgiven but will be added to the end of the plan. If the Debtor
fails to make any future payments to the Trustee in a timely manner, the case may be dismissed
upon written request of the Trustee, without further notice of hearing.
